850 F.2d 688Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Danny Earl BRASWELL, Plaintiff-Appellant,v.C.E. MICHAEL, Defendant-Appellee.
    No. 88-6571.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 27, 1988.Decided:  June 20, 1988.
    
      Danny Earl Braswell, appellant pro se.
      Robert B. Wilson, V (Commonwealth Attorney's Office), for appellee.
      Before DONALD RUSSELL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Danny Earl Braswell appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Braswell v. Michael, C/A No. 87-474-AM (E.D.Va. Feb. 11, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    